    8:17-cb-00009-SMB         Doc # 30    Filed: 11/22/17        Page 1 of 1 - Page ID # 55




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )     8:17CB9
                                            )     Violation Number 4558301 NE14
              vs.                           )
                                            )
BRANDON C. MARTIN,                          )      ORDER
                                            )
                      Defendant.            )


       The United States Attorney’s Office Motion to Dismiss (Filing No. 29) is granted. The

above-referenced matter is hereby dismissed without prejudice.

       ORDERED this 22nd day of November, 2017.


                                            BY THE COURT:

                                            s/ Susan M. Bazis
                                            United States Magistrate Judge
